Case 2:20-cv-07242-JAK-KS Document 8 Filed 11/05/20 Page 1 of 2 Page ID #:75

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

Case No. CV 20-7242-JAK (KS)                                                Date: November 5, 2020
Title      Okang Palmer v. Neil McDowell




Present: The Honorable:       Karen L. Stevenson, United States Magistrate Judge


                  Gay Roberson                                              N/A
                  Deputy Clerk                                    Court Reporter / Recorder

        Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:

Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE RE: DISMISSAL

        On August 12, 2020, Petitioner, a California state prisoner represented by counsel, filed a
Petition for Writ of Habeas Corpus by a Person in State Custody pursuant to 28 U.S.C. § 2254 (the
“Petition”). (Dkt. No. 1.) On September 11, 2020, Petitioner filed a request for a Kelly stay (Dkt.
No. 6), and, on September 14, 2020, the Court granted Petitioner’s request for a Kelly stay,
dismissed Grounds Three and Four of the Petition, and ordered Petitioner to file, no later than
October 14, 2020, a state habeas petition in the California Supreme Court fairly presenting
Grounds Three and Four of the original Petition and, inter alia, a copy of that petition with a status
report advising the Court of the status of his state habeas proceeding. (Dkt. No. 7.)

       More than three weeks have now passed since Petitioner’s deadline for complying with the
Court’s September 14, 2020 Order, and Petitioner has neither filed a status report nor otherwise
communicated with the Court about his case. Accordingly, Petitioner is ORDERED TO SHOW
CAUSE no later than November 19, 2020, why this case should not be dismissed for his failure to
prosecute and comply with the Court’s prior Order.

       To discharge this Order and proceed with this action, Petitioner must file one of the
following on or before the November 19, 2020 deadline:

        (1) a copy of the state habeas petition he filed in the California Supreme Court and a status
            report advising the Court of the status of his state habeas proceeding; or
        (2) a request for a 30-day extension of time and a sworn declaration (not to exceed 3 pages)
            presenting a plausible and coherent explanation, supported by competent evidence
            whenever possible, for Petitioner’s failure to timely comply with this Court’s order.



CV-90 (03/15)                           Civil Minutes – General                               Page 1 of 2
Case 2:20-cv-07242-JAK-KS Document 8 Filed 11/05/20 Page 2 of 2 Page ID #:76

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. CV 20-7242-JAK (KS)                                             Date: November 5, 2020
Title      Okang Palmer v. Neil McDowell


       Alternatively, if Petitioner no longer wishes to proceed with this case, he may file a signed
document entitled “Notice of Dismissal” in which he requests the voluntary dismissal of this action
with no further consequence.

        Petitioner is expressly cautioned that his failure to timely respond to this order may
result in the Court vacating the stay nunc pro tunc and ordering Respondent to respond to
the Petition as amended by the Court’s September 14, 2020 dismissal of Grounds Three and
Four.


                                                                                              :
                                                                 Initials of Preparer        gr




CV-90 (03/15)                          Civil Minutes – General                            Page 2 of 2
